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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 CHRISTOPHER C. HUGHES,                               )
                                                      )
                Plaintiff,                            )    Case No.: 1:16-cv-11062
                                                      )
         v.                                           )    Hon. Andrea R. Wood
                                                      )    Magistrate Judge Susan E. Cox
 SHERIFF OF COOK COUNTY THOMAS                        )
 DART, SUPERINTENDENT JONES,                          )
 PAMELA HUMPHRIES, RN, UNKNOWN                        )
 PHYSICIANS JOHN DOES 1-2, and                        )
 UNKNOWN NURSES JANE DOES 1-4,                        )
                                                      )
                Defendants.

                             SECOND AMENDED COMPLAINT

       Plaintiff Christopher C. Hughes, by and through his undersigned appointed counsel, Schiff

Hardin LLP, brings this civil rights action alleging that the defendants were deliberately indifferent

to his medical needs during his pretrial detainment at Cook County Jail. On at least twenty-two

occasions between September 2016 and August 2017, during his detainment at Cook County Jail,

defendants failed to provide him his prescribed medications, thereby causing him to experience

nerve pain, seizures and resultant head trauma, and other injuries. The defendants are (i) Sheriff

of Cook County, Thomas J. Dart, in his official capacity and individual capacity, (ii)

Superintendent Jones, a superintendent at Cook County Jail, in his individual capacity, (iii) Pamela

Humphries, RN, in her individual capacity, (iv) Unknown Physicians John Does 1-2, in their

individual capacities, and (v) Unknown Nurses Jane Does 1-4, in their individual capacities

(collectively, “Defendants”).

                                     SUMMARY OF CLAIM

       1.      Mr. Hughes brings this civil rights action to obtain redress for Defendants’

deliberate indifference to his serious medical needs during his pretrial detainment at Cook County
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Jail. Defendants repeatedly failed to provide Mr. Hughes his prescribed anti-seizure, pain, and

other medications. Defendants’ failure to provide Mr. Hughes his prescribed medications caused

Mr. Hughes nausea, vomiting, headaches, severe nerve pain, and other injuries. Most severe,

Defendants failed to provide Mr. Hughes his anti-seizure medication, which caused him on two

different occasions to experience seizures and in turn to fall, injure his head, and suffer severe head

swelling.

       2.      Mr. Hughes was held as a pretrial detainee at Cook County Jail from about October

2012 until October 2017. While detained at Cook County Jail, Mr. Hughes was diagnosed as

suffering from seizures, chronic nerve pain, and a psychiatric condition. The medical staff

prescribed Mr. Hughes medication for these ailments and informed him that it was important that

he receive the prescribed medications, detailed below, as prescribed.

       3.      Despite knowing that Mr. Hughes suffered from serious medical issues and despite

prescribing him medication to remediate these issues, the medical and jail staff at the Cook County

Jail repeatedly failed to provide Mr. Hughes with his prescribed medication. During the relevant

time period, from September 2016 to August 2017 (the “Relevant Period”), the staff at Cook

County Jail refused to provide Mr. Hughes his prescribed medication on at least twenty-two

separate occasions. On each of these twenty-two occasions, Mr. Hughes suffered severe nerve

pain caused by the failure to administer his pain medication; and on many of those occasions, he

suffered withdrawal symptoms, nausea, vomiting, diarrhea, and headaches. Furthermore, Mr.

Hughes suffered at least two seizures foreseeably caused by Defendants’ failure to administer his

anti-seizure medication. Both of those seizures resulted in Mr. Hughes falling and injuring his

head, which prompted visits to the hospital for treatment.




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       4.      Defendants did not have a legitimate reason to deny Mr. Hughes his medication.

On those at least twenty-two separate occasions, the staff told Mr. Hughes that he would not

receive his prescribed medications because of an “administrative lock-down” due to safety

concerns. During these “administrative lock-downs,” the medical staff failed to provide, or was

prevented from providing medications to Mr. Hughes and all the other detainees in his division as

well. On information and belief, many of these “administrative lock-downs” occurred because

Cook County Jail was understaffed on those occasions, not because there was any security problem

that necessitated a lock-down. Many of the lock-downs occurred on weekends or on or near

holidays, when understaffing issues apparently most often presented themselves.

       5.      On each of the at least twenty-two occasions when the medical staff failed to

provide Mr. Hughes his prescribed medications, Mr. Hughes verbally complained to jail and

medical staff and followed up with formal, written grievances, all of which were denied and most

of which denials Mr. Hughes appealed. Mr. Hughes also informed his treating physicians (John

Does 1-2) and Superintendent Jones of the failures to provide medication. Despite Mr. Hughes’

complaints to these individuals and submitting formal grievances, Defendants intentionally

refused to correct the problem or, at least, turned a blind eye to the deficient treatment provided to

Mr. Hughes.

       6.      In short, under the leadership of Cook County Sheriff Thomas J. Dart, Cook County

Jail had a practice, policy, or custom of refusing to permit medical staff to provide prescribed

medications to detainees at Division 9, including Mr. Hughes, when the jail was understaffed or

when supposed safety concerns allegedly prevented the other Defendants from providing

medication. The safety concerns were trumped up and did not really prevent medication from

being distributed: during other “lock-downs” or “administrative lock-downs” detainees were




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locked in their cells, and medical staff was able to provide them with medication by bringing

medications directly to the detainees’ cells. The practice, policy, or custom of refusing to permit

medical staff to provide prescribed medications constitutes deliberate indifference to Mr. Hughes’

medical treatment and violates his rights under the Fourteenth Amendment and 42 U.S.C. § 1983.

Mr. Hughes therefore brings this action against Cook County Sheriff Thomas J. Dart in his official

capacity for implementing this improper practice, policy, or custom and/or permitting it to endure.

        7.      Alternatively, to the extent that there was a not practice, policy, or custom of

routinely refusing to permit medical staff to provide medication, then the medical staff’s failure to

administer the medication that they themselves had prescribed to Mr. Hughes constitutes deliberate

indifference to Mr. Hughes’ medical treatment, thereby violating his rights under the Fourteenth

Amendment and 42 U.S.C. § 1983. Mr. Hughes therefore brings this action against his treating

physicians, his nurses, and Superintendent Jones, each of whom failed to remedy the problem

despite being on clear notice that Mr. Hughes was repeatedly being denied his medication, and

suffered physical pain and at least two seizures as a result of missing doses of his prescribed

medication.

                                    JURISDICTION & VENUE

        8.      This action is brought under 42 U.S.C. § 1983 to redress the deprivation under color

of law of Mr. Hughes’ rights as secured by the Fourteenth Amendment to the United States

Constitution. The Court therefore has federal question jurisdiction under 28 U.S.C. §§ 1331 and

1343.

        9.      Venue is proper under 28 U.S.C. § 1391(b)(2) because the events giving rise to this

suit occurred during Mr. Hughes’ pretrial confinement at Cook County Jail, which is located in

Chicago, Illinois, within this judicial district.




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                                             PARTIES

       10.     Plaintiff, Christopher C. Hughes, is an individual who was incarcerated as a pretrial

detainee at the Cook County Department of Corrections at Cook County Jail in Chicago, Illinois

between about October 2012 and October 2017, and during the entirety of the Relevant Period.

Mr. Hughes was a resident of Division 9 at the Cook County Jail. Mr. Hughes is currently

incarcerated at Dixon Correctional Center, located in Illinois.

       11.     Defendant Cook County Sheriff Thomas J. Dart is an elected official of Cook

County, who operated during the Relevant Period under color of law, and is named in both his

official capacity and individual capacity.

       12.     Non-party Cermak Health Services (“Cermak”) is a subdivision of Cook County

that provides medical care and services to detainees at Cook County Jail.

       13.     Defendants Pamela Humphries, RN, and Unknown Nurses Jane Does 1-4 are the

only five nurses who tended to the medical care of Mr. Hughes and the other detainees of Division

9 during the Relevant Period. Pamela Humphries, RN, and Jane Does 1-4 are employees of

Cermak and operated during the Relevant Period under color of law. On information and belief,

one of the Jane Does Nurses is named Nurse Smith. Pamela Humphries, RN, and Jane Does 1-4

are named in their individual capacities.

       14.     Defendants Unknown Physicians John Does 1-2 were Mr. Hughes’ treating

physicians while he was detained at the Cook County Jail during the Relevant Period. John Does

1-2 are employees of Cermak and operated at all times during the Relevant Period under color of

law. John Does 1-2 are named in their individual capacity.

       15.     Defendant Superintendent Jones is a Superintendent at the Cook County Jail. He

is an employee of Cook County and operated at all times during the Relevant Period under color

of law. Superintendent Jones is named in his individual capacity.


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                                        BACKGROUND

Mr. Hughes’ Medical Ailments And Prescriptions

       16.     Since approximately October 2012, Mr. Hughes has suffered from seizures. No

later than April 2013, a licensed physician prescribed Mr. Hughes the anti-seizure medications

Dilantin and Gabapentin.

       17.     Since at least April 2013, Mr. Hughes has suffered from severe nerve pain

throughout portions of the left side of his body. No later than November 2013, a licensed physician

prescribed Mr. Hughes the pain medication Gabapentin.

       18.     After April of 2013 and before August of 2016, Mr. Hughes was also diagnosed

with a psychiatric condition and was prescribed Remeron and Effexor.

Mr. Hughes’ Intake And Treatment At Cook County Jail

       19.     On or about October 2012, Mr. Hughes was detained at Cook County Jail, and he

was detained there during the Relevant Period.

       20.     During the entirety of the Relevant Period at Cook County Jail, Mr. Hughes was

subject to medical conditions that, if untreated, caused him to suffer seizures and nerve pain, and

he was subject to psychiatric conditions, including withdrawal from his prescribed medications.

Mr. Hughes was prescribed Dilantin, Gabapentin, Remeron, and Effexor (collectively, the

“Prescribed Medications”) to address these medical and psychiatric conditions.

       21.     During the Relevant Period, Mr. Hughes was treated primarily by two unknown

physicians, John Does 1-2. John Does 1-2 prescribed Mr. Hughes the Prescribed Medications.




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       22.     During the Relevant Period, Mr. Hughes was treated by five nurses, Pamela

Humphries and Jane Does 1-4. Pamela Humphries and Jane Does 1-4 were responsible for

providing Mr. Hughes the Prescribed Medications twice daily, once in the morning and once in

the evening.



Medical Staff Repeatedly Fail To Provide Mr. Hughes’ His Prescribed Medications

       23.     On at least the following occasions, Pamela Humphries and Jane Does 1-4 failed to

provide Mr. Hughes the Prescribed Medications:

               September 10, 2016
               September 11, 2016
               September 17, 2016
               September 18, 2016
               September 25, 2016
               October 25, 2016
               October 28, 2016
               November 8, 2016
               January 7, 2017
               March 13, 2017
               April 27, 2017
               May 14, 2017
               June 17, 2017
               July 4, 2017
               July 27, 2017
               August 2, 2017
               August 12, 2017
               August 17, 2017
               August 29, 2017

       24.     For each failure to provide the Prescribed Medications listed in the preceding

paragraph, Mr. Hughes complained to the jail staff and later the medical staff that he needed his

Prescribed Medications.     The jail and medical staff told Mr. Hughes that, because of

“administrative lock-downs” in Division 9, they were unable to provide him or any of the other

detainees in Division 9 their medications.




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       25.     For each failure to provide the Prescribed Medications, Mr. Hughes timely filed an

official written grievance with Cook County Jail. Each of those written grievances was denied,

and Mr. Hughes timely appealed the denial of at least the majority of the grievances.

       26.     Mr. Hughes further complained to unknown doctors John Does 1-2 and

Superintendent Jones about the repeated failures to provide him his Prescribed Medications.

Despite repeated oral and written complaints and grievances, John Does 1-2, Superintendent Jones,

and Sheriff Dart failed to take any steps to ensure that Mr. Hughes received his Prescribed

Medications. John Does 1-2, Superintendent Jones, and Sheriff Dart failed to take any effective

corrective or remedial action whatsoever for more than a year despite having actual notice of Mr.

Hughes’ medical conditions, having actual notice of the head injury described below that was

caused by Mr. Hughes’ seizure in September of 2016 and that resulted from the denial of his

Prescribed Medications, and having actual knowledge of the nurses’ failure to provide the

Prescribed Medication. This failure on the part of John Does 1-2, Superintendent Jones, and

Sheriff Dart constitutes a gross failure to supervise and at least constitutes turning a blind eye to

this deliberate indifference.

Mr. Hughes’ Resultant Injuries

       27.     Pamela Humphries and Jane Does 1-4 failed to provide Mr. Hughes his Prescribed

Medications on September 10, 2016 and on the morning of September 11, 2016. On September

11, 2016, at approximately 2:00 p.m., Mr. Hughes suffered a seizure caused by the failure to

provide him his Prescribed Medications. This seizure caused him to fall and injure his head. As

a result, Mr. Hughes experienced head trauma and swelling. He was transferred to the dispensary

for medical attention, and dispensary personnel then transferred him to Cermak Hospital for

medical attention.




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       28.     Pamela Humphries and Jane Does 1-4 failed to provide Mr. Hughes his Prescribed

Medications on the evening of August 29, 2017. On August 29, 2017, at around 9:00 p.m., Mr.

Hughes suffered a seizure caused by this failure, and this seizure caused him to fall and injure his

head yet again. He was hospitalized at Cermak Hospital for several days as a result.

       29.     In addition to the two seizures and resulting head traumas discussed above, each

time Pamela Humphries and Jane Does 1-4 failed to provide Mr. Hughes his Prescribed

Medications caused direct injury and harm to Mr. Hughes. As noted, Mr. Hughes suffers from

chronic nerve pain that is managed by prescribed pain medication. Mr. Hughes suffered severe

nerve pain caused by the failure to administer his pain medication and suffered withdrawal

symptoms including nausea, diarrhea, vomiting, headache, and others by the failure to administer

the Prescribed Medications. In addition to these physical injuries, Mr. Hughes also experienced

mental injury and emotional distress when he failed to receive his Prescribed Medications.

Furthermore, Mr. Hughes was placed in the frightening position of never knowing whether he

would actually receive the Prescribed Medications and knowing that if he did not, then he would

experience severe pain and other medical issues and could potentially suffer a life threatening

seizure.

       30.     In order to provide constitutionally adequate medical care, Defendants were

required to provide Mr. Hughes his Prescribed Medication and to provide medications to the other

detainees in Division 9 even when there was an “administrative lock-down” or safety issues.

Indeed, if all the detainees were restrained in their cells due to an “administrative lock-down” or

due to safety issues, it would be safer than usual for the medical staff to provide detainees their

prescribed medications. Defendants should have taken reasonable steps to ensure that Mr. Hughes

received his Prescribed Medications, but they failed to do so.




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                COUNT I – SHERIFF OF COOK COUNTY THOMAS J. DART
                 Deprivation of Right to Medical Care / Deliberate Indifference
                                        42 U.S.C. § 1983

          31.    Paragraphs 1 through 30 above are incorporated by reference as if fully set forth

herein.

          32.    At all times during the Relevant Period, doctors had issued prescriptions for the

Prescribed Medications required to control Mr. Hughes’s serious medical conditions.

          33.    During the specific instances described above in Paragraph 23, Mr. Hughes did not

receive the Prescribed Medications, because, under Sheriff Dart, Cook County Jail had a practice,

policy, or custom of refusing to provide detainees at Division 9 their prescribed medications when

there was an “administrative lock-down.”

          34.    Because he knew of Mr. Hughes’ medical needs and knew also of the inadequacies

and deficiencies in the staffing and procedures at Cook County Jail, Sheriff Dart had a duty under

the Fourteenth Amendment to establish and implement policies, practices, and customs designed

to ensure that Mr. Hughes received adequate medical care and treatment, including timely delivery

of the Prescribed Medications.

          35.    Sheriff Dart breached and neglected this duty by instead adopting policies,

practices, and customs that he knew or reasonably should have known would be ineffective in

delivering, and would prevent the delivery of, adequate medical treatment and care, thereby

endangering Mr. Hughes’ health and well-being in violation of rights secured to Mr. Hughes by

the Fourteenth Amendment to the United States Constitution.

          36.    Furthermore, knowing of Mr. Hughes’ medical needs or with deliberate

indifference to such needs, Sheriff Dart has failed to instruct, supervise, and train Cook County

Jail employees and agents in such a manner as to assure the delivery of adequate medical care to

Mr. Hughes, particularly during administrative lock-downs, thereby endangering Mr. Hughes’


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health and well-being in violation of rights secured to Mr. Hughes by the Fourteenth Amendment

to the United States Constitution.

        37.     As a direct and proximate result of the above described actions and omissions by

Sherriff Dart, Mr. Hughes has suffered damages in an amount to be proven at trial. Sheriff Dart is

therefore liable in his official capacity.

                               COUNT II –THOMAS J. DART
                Deprivation of Right to Medical Care / Deliberate Indifference
                                       42 U.S.C. § 1983

        38.     Count II is brought in the alternative to Count I.

        39.     Paragraphs 1 through 5 and Paragraphs 7 through 30 above are incorporated by

reference as if fully set forth herein.

        40.     Furthermore, by reason of Mr. Hughes’ repeated complaints and formal grievances,

Sheriff Dart knew, on information and belief, that Mr. Hughes was not receiving adequate medical

care, because of the failure to provide him his Prescribed Medications; and Sheriff Dart facilitated,

approved, condoned, or turned a blind eye to this failure. In other words, on information and

belief, Sheriff Dart knew about the deprivation of Mr. Hughes’ right to adequate medical care and

acted either knowingly or with deliberate indifference to cause him to be deprived of that medical

care. Sherriff Dart had a duty to act because of his role as supervisor of the Cook County Jail.

Sheriff Dart is therefore liable in his individual capacity because of his direct knowledge and role

in the deliberate indifference to Mr. Hughes’ medical care.

        41.     Sherriff Dart consciously refused to take reasonable measures to ensure that the

Prescribed Medications were provided to Mr. Hughes in accordance with his prescriptions.

        42.     As a direct and proximate result of the above described actions and omissions by

Sherriff Dart, Mr. Hughes has suffered damages in an amount to be proven at trial.




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      COUNT III – PAMELA HUMPHRIES, RN, JANE DOES 1-4, JOHN DOES 1-2
            Deprivation of Right to Medical Care / Deliberate Indifference
                                   42 U.S.C. § 1983

       43.     Count III is brought in the alternative to Count I.

       44.     Paragraphs 1 through 5, Paragraphs 7 through 30, and Paragraphs 37 through 42

above are incorporated by reference as if fully set forth herein.

       45.     At all times during the Relevant Period, Mr. Hughes was prescribed the Prescribed

Medications, which were required to control his serious medical conditions.

       46.     During the specific instances described above in Paragraph 23, Pamela Humphries

and Jane Does 1-4 failed to provide Mr. Hughes with the Prescribed Medications.

       47.     John Does 1-2 and Pamela Humphries and Jane Does 1-4 knew about Mr. Hughes’

medical needs, so they had a duty under the Fourteenth Amendment to ensure that Mr. Hughes

received his Prescribed Medications.        By failing to provide Mr. Hughes his Prescribed

Medications, John Does 1-2 and Pamela Humphries and Jane Does 1-4 violated Mr. Hughes’ right

to receive adequate medical treatment, thereby endangering Mr. Hughes’ health and well-being in

violation of rights secured to Mr. Hughes by the Fourteenth Amendment to the United States

Constitution. John Does 1-2 and Pamela Humphries and Jane Does 1-4 are therefore liable in their

individual capacities.

       48.     Furthermore, by reason of Mr. Hughes’ repeated complaints and formal grievances,

John Does 1-2, on information and belief, knew that Mr. Hughes was not receiving adequate

medical care because he was not receiving his Prescribed Medications; and they facilitated,

approved, condoned, or turned a blind eye to this failure. In other words, on information and

belief, John Does 1-2 knew about the deprivation of Mr. Hughes’ right to adequate medical care

and acted either knowingly or with deliberate indifference. John Does 1-2 are therefore liable in




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their individual capacities because of their direct knowledge and role in the deliberate indifference

to Mr. Hughes’ medical care.

       49.     John Does 1-2 and Pamela Humphries and Jane Does 1-4 consciously refused to

take reasonable measures to ensure the Prescribed Medications were provided to Mr. Hughes. On

information and belief, John Does 1-2 and Pamela Humphries and Jane Does 1-4 acted with

reckless disregard for Mr. Hughes’ rights.

       50.      As a direct and proximate result of the above described actions and omissions by

John Does 1-2 and Pamela Humphries and Jane Does 1-4, Mr. Hughes has suffered damages in an

amount to be proven at trial.

                         COUNT IV – SUPERINTENDENT JONES
                Deprivation of Right to Medical Care / Deliberate Indifference
                                       42 U.S.C. § 1983

       51.     Count IV is brought in the alternative to Count I.

       52.     Paragraphs 1 through 5, Paragraphs 7 through 30, and Paragraphs 37 through 50

above are incorporated by reference as if fully set forth herein.

       53.     At all relevant times, Mr. Hughes was prescribed the Prescribed Medications,

which were required to control his serious medical conditions.

       54.     By reason of Mr. Hughes’ repeated complaints and formal grievances,

Superintendent Jones knew that Mr. Hughes was not receiving adequate medical care, because of

the failure to provide him his Prescribed Medications; and Superintendent Jones facilitated,

approved, condoned, or turned a blind eye to this failure. Superintendent Jones had a duty to act

because of his role as supervisor of Division 9 of the Cook County Jail. In other words, on

information and belief, Superintendent Jones knew about the deprivation of Mr. Hughes’ right to

adequate medical care and acted either knowingly or with deliberate indifference. Superintendent




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Jones is therefore liable in his individual capacity because of his direct knowledge and role in the

deliberate indifference to Mr. Hughes’ medical care.

       55.     Superintendent Jones consciously refused to take reasonable measures to ensure the

Prescribed Medications were provided to Mr. Hughes. On information and belief, Superintendent

Jones acted with reckless disregard for Mr. Hughes’ rights.

       56.      As a direct and proximate result of the above described actions and omissions by

Superintendent Jones, Mr. Hughes has suffered damages in an amount to be proven at trial.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, Christopher C. Hughes, requests that the Court enter judgment

in his favor against Defendant Cook County Sheriff Thomas Dart, in his official capacity and

award him:

       (A) compensatory damages in an amount to be proven at trial, including but not

       limited to damages for physical, mental, and emotional pain, anguish, and suffering,

       costs of future medical care, and any other compensatory damages to which

       plaintiff may be entitled;

       (B) reasonable attorneys’ fees, expenses, and costs of this action; and

       (C) such other and further relief as this Court deems just and proper.

       Alternatively, Christopher C. Hughes, requests that the Court enter judgment in his favor

against Defendants (i) Sheriff Thomas Dart in his individual capacity, (ii) Superintendent Jones,

in his individual capacity, (iii) Unknown Physicians John Does 1-2, in their individual capacities,

and (iv) Pamela Humphries and Jane Does 1-4, in their individual capacities, and award him:

       (A) compensatory damages in an amount to be proven at trial, including but not

       limited to damages for physical, mental, and emotional pain, anguish, and suffering,




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       costs of future medical care, and any other compensatory damages to which

       plaintiff may be entitled;

       (B) punitive damages;

       (C) reasonable attorneys’ fees, expenses, and costs of this action; and

       (D) such other and further relief as this Court deems just and proper.

                                        JURY DEMAND

Plaintiff Mr. Hughes demands a trial by jury on all issues so triable.



Dated: August 23, 2018                             Respectfully submitted,

                                                   CHRISTOPHER C. HUGHES



                                                   By: /s/ Michael K. Molzberger
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                                   CERTIFICATE OF SERVICE
          I hereby certify that on August 23, 2018, I electronically filed the foregoing with the Clerk

of the United States District Court for the Northern District of Illinois, Eastern Division, using the

Court’s CM/ECF system, which will automatically send notification of this filing to all counsel of

record.




                                                     /s/ Sarah K. Schiferl




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